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 8
                               UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
10

11 VICTORIA MONSCH, on behalf of herself                 Case No. 3:24-CV-02996-CRB
   and all others similarly situated,                    Related Case Nos.:
12                                                            3:24-CV-03379-CRB
                   Plaintiff,                                 3:24-CV-03406-CRB
13                                                            3:24-CV-03763-CRB
           v.                                            STIPULATION AND [PROPOSED]
14
                                                         ORDER TO CONSOLIDATE RELATED
15 DREAMLAND BABY CO.,                                   CASES
16                Defendant.                             Judge: Hon. Charles R. Breyer
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                STIPULATION AND [PROPOSED] ORDER TO CONSOLIDATE RELATED CASES
                                    CASE NO. 3:24-CV-02996-CRB
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 1          Plaintiffs Victoria Monsch, Megan Fehrenbach, Tuliisa Miller, and Haley Muse
 2 (collectively, “Plaintiffs”) and Defendant Dreamland Baby Co. (“Defendant”) (together, the

 3 “Parties”), through their respective counsel, stipulate as follows:

 4          WHEREAS, there are four (4) related proposed class actions pending in the Northern District
 5 of California before the Honorable Charles R. Breyer: Monsch v. Dreamland Baby Co., No. 3:24-

 6 CV-02996-CRB (the “Monsch Action”), Miller v. Dreamland Baby Co., No. 3:24-CV-03379-CRB

 7 (the “Miller Action”), Fehrenbach v. Dreamland Baby Co., No. 3:24-CV-03406-CRB (the

 8 “Fehrenbach Action”), and Muse v. Dreamland Baby Co., No. 3:24-CV-03763-CRB (the “Muse

 9 Action”) (together, the ”Related Cases”);

10          WHEREAS, the Parties, by and through their respective counsel, have conferred and agree
11 that consolidation is appropriate under Federal Rule of Civil Procedure 42(a) because the Related

12 Cases involve common questions of law or fact, and assert similar claims;

13          WHEREAS, Defendant does not oppose consolidation under Fed. R. Civ. P 42(a) while
14 expressly reserving its right to oppose class certification on any grounds;

15          WHEREAS, the Parties agree that neither this stipulation nor any resulting consolidation
16 of these actions will waive or prejudice in any respect—and Plaintiffs will not assert that

17 consolidation or this stipulation has waived or prejudiced in any respect—Defendant’s rights,

18 including without limitation, to require each Plaintiff to proceed in his or her individual capacity

19 and not in a class action;

20          WHEREAS, Plaintiffs and Defendant agree that neither this stipulation nor any resulting
21 consolidation of these actions will waive or prejudice in any respect—and Defendant will not

22 assert that consolidation or this stipulation has waived or prejudiced in any respect—Plaintiffs’

23 legal rights or defenses to maintain class proceedings;

24          WHEREAS, Plaintiffs agree to not, at any juncture in any of these Related Cases, contend
25 that this stipulation or any resulting consolidation of these actions supports any request for

26 certification of any proposed or putative class(es);

27          WHEREAS, the Parties propose, subject to Court approval, that this action proceed on the
28 following schedule:
                                                      2
                 STIPULATION AND [PROPOSED] ORDER TO CONSOLIDATE RELATED CASES
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 1        •       Plaintiffs will file a Consolidated Complaint (“Complaint”) no later than 21 days
 2                following the entry of this Stipulation consolidating the Related Cases;
 3        •       Defendant will respond to the Complaint no later than 45 days following its filing. If
 4                Defendant intends to file a motion to dismiss, the Parties agree to stipulate, subject to Court
 5                approval, to a briefing schedule on Defendant’s motion to dismiss wherein Plaintiffs shall
 6                be entitled to one amendment as a matter of right under Fed. R. Civ. P. 15(a)(1)(B);
 7            NOW THEREFORE, the Parties through their respective counsel and subject to the Court’s
 8 approval hereby stipulate that:

 9            1.        The following actions pending in this District, and any other action arising out of the
10 same or similar operative facts now pending or hereafter filed in, removed to, or transferred to this

11 District shall be consolidated for all pre-trial purposes pursuant to Federal Rule of Civil Procedure

12 42(a) (hereafter the “Consolidated Action”):

13            •         Monsch v. Dreamland Baby Co., No. 3:24-CV-02996-CRB;
14            •         Miller v. Dreamland Baby Co., No. 3:24-CV-03379-CRB;
15            •         Fehrenbach v. Dreamland Baby Co., No. 3:24-CV-03406-CRB; and
16            •         Muse v. Dreamland Baby Co., No. 3:24-CV-03763-CRB.
17            Consolidation and this stipulation and order will not waive or prejudice in any respect
18 either Parties’ rights or defenses in this litigation.

19            2.        All papers filed in the Consolidated Action shall be filed under Case No. 3:24-CV-
20 02996-CRB, the number assigned to the first-filed case, and must bear the following caption:

21                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
22

23
   IN RE DREAMLAND BABY CO. WEIGHTED
24 SLEEP PRODUCTS LITIGATION,
                                                                Master File No. 3:24-CV-02996-CRB
25 This Document Relates To:
   ______________/
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                      STIPULATION AND [PROPOSED] ORDER TO CONSOLIDATE RELATED CASES
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 1          3.      The case file for the Consolidated Action will be maintained under Master File No.

 2 3:24-CV-02996-CRB.

 3          4.      The Clerk is directed to administratively close the following related cases:

 4                  •       Miller v. Dreamland Baby Co., No. 3:24-CV-03379-CRB;

 5                  •       Fehrenbach v. Dreamland Baby Co., No. 3:24-CV-03406-CRB; and

 6                  •       Muse v. Dreamland Baby Co., No. 3:24-CV-03763-CRB.

 7          5.      Any action subsequently filed, transferred or removed to this Court that arises out

 8 of the same or similar operative facts as the Consolidated Action will be consolidated with it. The

 9 Parties shall file a Notice of Related Cases pursuant to Civil L.R. 3-12 whenever a case that should

10 be consolidated into this action is filed in, or transferred to, this District. If the Court determines

11 that the case is related, the clerk shall:

12                   a.      place a copy of this Order in the separate file for such action;

13                   b.      serve on plaintiff’s counsel in the new case a copy of this Order;

14                   c.      direct that this Order be served upon defendants in the new case; and

15                   d.      make the appropriate entry in the Master Docket.

16          6.      Defendant does not waive its right to oppose class certification.

17          7.      Plaintiffs shall not, at any juncture in any of these Related Cases, contend that this

18 stipulation or any resulting consolidation of these actions supports any request for certification of

19 any proposed or putative class(es);

20          8.      Initial deadlines for this consolidated action are as follows: Plaintiffs will file the

21 Complaint no later than 21 days following the entry of this Stipulation consolidating the Related

22 Cases. Defendant will respond to the Complaint no later than 45 days following its filing.

23          9.      If Defendant intends to file a motion to dismiss, the Parties agree to stipulate to a

24 briefing schedule on Defendant’s motion to dismiss.

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27 IT IS SO STIPULATED

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                  STIPULATION AND [PROPOSED] ORDER TO CONSOLIDATE RELATED CASES
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               STIPULATION AND [PROPOSED] ORDER TO CONSOLIDATE RELATED CASES
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               STIPULATION AND [PROPOSED] ORDER TO CONSOLIDATE RELATED CASES
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        Case 3:24-cv-03406-CRB Document 14 Filed 07/17/24 Page 7 of 8



 1                                                         Attorneys for Plaintiff Haley Muse
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19                                                         Attorneys for Defendant Dreamland Baby Co.
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21                          ATTESTATION UNDER LOCAL RULE 5-1(i)(3)
22          Pursuant to Civil Local Rule 5-1(i)(3), the undersigned filer hereby attests that all signatories
23 listed, and on whose behalf the filing is submitted, concur in the filing’s content, and have authorized

24 the filing.

25

26 DATED: July 16, 2024                                    By: /s/ Benjamin Heikali
                                                              Benjamin Heikali
27
                                                               TREEHOUSE LAW, LLP
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                                                       7
                 STIPULATION AND [PROPOSED] ORDER TO CONSOLIDATE RELATED CASES
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 1 PURSUANT TO STIPULATION, IT IS SO ORDERED

 2
        Date: _____________________
               July 17, 2024                 _______________________________
 3                                           HON. CHARLES R. BREYER
 4                                           UNITED STATES DISTRICT JUDGE

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            STIPULATION AND [PROPOSED] ORDER TO CONSOLIDATE RELATED CASES
                                CASE NO. 3:24-CV-02996-CRB
